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                      United States Court of Appeals
                                   FIFTH CIRCUIT
                                OFFICE OF THE CLERK
LYLE W. CAYCE                                                      TEL. 504-310-7700
CLERK                                                           600 S. MAESTRI PLACE,
                                                                        Suite 115
                                                               NEW ORLEANS, LA 70130

                                July 12, 2023
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW
Regarding:       Fifth Circuit Statement on Petitions for Rehearing
                 or Rehearing En Banc
                No. 22-20095   Flores v. FS Blinds
                               USDC No. 4:19-CV-4114

Enclosed is a copy of the court’s decision. The court has entered
judgment under Fed. R. App. P. 36. (However, the opinion may yet
contain typographical or printing errors which are subject to
correction.)
Fed. R. App. P. 39 through 41, and 5th Cir. R. 35, 39, and 41 govern
costs, rehearings, and mandates. 5th Cir. R. 35 and 40 require
you to attach to your petition for panel rehearing or rehearing en
banc an unmarked copy of the court’s opinion or order.      Please
read carefully the Internal Operating Procedures (IOP’s) following
Fed. R. App. P. 40 and 5th Cir. R. 35 for a discussion of when a
rehearing may be appropriate, the legal standards applied and
sanctions which may be imposed if you make a nonmeritorious
petition for rehearing en banc.
Direct Criminal Appeals. 5th Cir. R. 41 provides that a motion for
a stay of mandate under Fed. R. App. P. 41 will not be granted simply
upon request. The petition must set forth good cause for a stay
or clearly demonstrate that a substantial question will be
presented to the Supreme Court. Otherwise, this court may deny
the motion and issue the mandate immediately.
Pro Se Cases.   If you were unsuccessful in the district court
and/or on appeal, and are considering filing a petition for
certiorari in the United States Supreme Court, you do not need to
file a motion for stay of mandate under Fed. R. App. P. 41. The
issuance of the mandate does not affect the time, or your right,
to file with the Supreme Court.
Court Appointed Counsel. Court appointed counsel is responsible
for filing petition(s) for rehearing(s) (panel and/or en banc) and
writ(s) of certiorari to the U.S. Supreme Court, unless relieved
of your obligation by court order. If it is your intention to
file a motion to withdraw as counsel, you should notify your client
promptly, and advise them of the time limits for filing for
rehearing and certiorari.     Additionally, you MUST confirm that
this information was given to your client, within the body of your
motion to withdraw as counsel.
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The judgment entered provides that defendant-appellee pay to
plaintiffs-appellants the costs on appeal. A bill of cost form is
available on the court’s website www.ca5.uscourts.gov.


                                  Sincerely,
                                  LYLE W. CAYCE, Clerk



                                  By: _______________________
                                  Nancy F. Dolly, Deputy Clerk
Enclosure(s)
Ms.   Kelly Rae Ferrell
Mr.   Andrew S. Golub
Mr.   Stephen Howard Lee
Ms.   Lauren Leigh Van Ness
